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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 BRIEONA CLEVELAND                           )                Case No. 3:21-cv-199-BJB
                                             )                  ELECTRONICALLY FILED
                                   PLAINTIFF )
                                             )
 vs.                                         )
                                             )
 REX BLACKWELL and                           )
 FIRSTFLEET, INC.                            )
                                             )                Removed from:
                                 DEFENDANTS )                 Jefferson Circuit Court
                                             )                Case No. 21-CI-001063
                                             )


                                   NOTICE OF REMOVAL


       Comes the Defendant, FirstFleet, Inc., and Rex Blackwell, by counsel, and for its Notice

of Removal of this action from the Jefferson Circuit Court, to the United States District Court for

the Western District of Kentucky, Louisville Division, and states as follows:

       1.      On February 19, 2021, the Plaintiff Brieona Cleveland filed a Complaint in

               Jefferson Circuit Court, as Civil Action No. 21-CI-001063. Copies of all process

               and pleadings in the state court action are attached hereto as Exhibit A in

               accordance with 28 U.S.C. §1446(a).

       2.      On March 29, 2021, the Defendants Firstfleet and Blackwell filed an answer to the

               complaint of the plaintiff.

       3.      The Defendant Firstfleet, was served on our above March 2, 2021.

       4.      Defendant Blackwell consents to this removal.

       2.      Plaintiff Brieona Cleveland is and was at all times relevant hereto, including at the

time of the filing of this notice of removal, and at the commencement of the state court action, a

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citizen and resident of Jefferson County, in the Commonwealth of Kentucky.

       3.      Defendant Rex Blackwell is and was at all times relevant hereto, including at the

time of filing of this notice of removal, and at the commencement of the state court action, a citizen

of the State of Indiana, residing in Fort Wayne, Indiana.

       4.      Defendant FirstFleet, Inc. is and was at all times relevant hereto, including at the

time of the filing of this notice of removal, and at the commencement of the state court action,

incorporated and existing under the laws of the State of Tennessee and having its principal place

of business in Murfreesboro, Tennessee. Therefore, FirstFleet, Inc. is a citizen of Tennessee.

       4.      Based on the allegations raised in the Complaint, the Plaintiff Cleveland is seeking

in excess of $75,000.00, exclusive of interest and costs, based on the following:

               a. severe and painful injuries to her person;

               b. past and future medical expenses for hospitals, doctors, and other
               healthcare providers;

               c. property damage; and

               d. lost value in the fair market value of her vehicle.

See Plaintiff’s Complaint.

       5.      This action is one over which the Court has original jurisdiction under 28 U.S.C.

§1332(a)(1), and is one which the Defendants may remove to this Court under 28 U.S.C. §1441(a),

because this is an action between citizens of different states, and the amount in controversy exceeds

$75,000.00.

       6.      This Notice of Removal is filed within thirty (30) days of service on Defendant of

the initial pleading and summons, as required by 28 U.S.C. §1446(b).

       7.      This Notice of Removal is filed within one year of the commencement of the state

court action, which was filed on or about February 19, 2021, as required by 28 U.S.C. §1446(c).

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                                                    Respectfully Submitted,

                                                    /s/ Gene F. Zipperle, Jr.
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                                                    GZipperle@whtlaw.com
                                                    Counsel for Defendant Rex Blackwell and
                                                    FirstFleet, Inc.

                                        CERTIFICATE

        I hereby certify that on the 30th day of March, 2021, I electronically filed the foregoing
document with the Clerk of the Court by using the Court’s electronic filing system, and the
foregoing document was served in accordance with the method established under this Court’s
Administrative Rules of Practice and Procedure laid out by the Kentucky Supreme Court upon all
parties in the electronic filing system in the case by electronic mail including:

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Counsel for Plaintiff


                                                /s/ Gene F. Zipperle, Jr.
                                                GENE F. ZIPPERLE, JR.
                                                Counsel for Rex Blackwell and
                                                FirstFleet, Inc.




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